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AO 399 (01/09) Waiver of the Service of Summons



                                      UNITED STATES DISTRICT COURT
                                                                       for the
                                                                 District ofKansas

                       Shannon D. Wren                                       )
                              Plaintiff                                      )
                                 v.                                          )   Civil Action No. 23-3091-JWL
                            (fnu) (lnu)                                      )
                             Defendant                                       )

                                            WAIVER OF THE SERVICE OF SUMMONS

To: Shannon D. Wren
             (Name of the plaintiff's attorney or unrepresented plaintiff)

       I have received your request to waive service ofa summons in this action along with a copy ofthe complaint,
two copies ofthis waiver form, and a prepaid means ofretuming one signed copy ofthe form to you.
          I, or the entity I represent, agree to save the expense ofserving a summons and complaint in this case.
         I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's
jurisdiction, and the venue ofthe action, but that I waive any objections to the absence ofa summons or ofservice.
        I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from               04/11/2023             , the date when this request was sent (or 90 days ifit was sent outside the
United States). Ifl fail to do so, a default judgment will be entered against me or the entity I represent.

       4/25/2023
Date: --------                                                                      s/Matthew L. Shoger
                                                                                            Signature of the attorney, deputy clerk or pro se party

                            (fnu) (lnu)                                              Matthew L. Shoger
       Printed name of party waiving service of summons                                                    Printed name
                                                                                     Assistant Attorney General
                                                                                     Office of Kansas Attorney General
                                                                                     120 SW 10th Ave, 2nd Floor
                                                                                     Topeka, Kansas 66612
                                                                                                                 Address
                                                                                       matt.shoger@ag.ks.gov
                                                                                                             E-mail address
                                                                                       785-296-2215
                                                                                                           Telephone number

                                           Duty to Avoid Unnecessary Expenses of Serving a Summons
          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.
          "Good cause" does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant's property.
        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.

           If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
